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7                                   UNITED STATES DISTRICT COURT

8                             FOR THE EASTERN DISTRICT OF CALIFORNIA

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     UNITED STATES OF AMERICA,                                 1:15-cr-00288 LJO-BAM
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                               Plaintiff,                      COURT RESPONSE TO DEFENSE
11                                                             BRIEF (Doc. 253)
                         v.
12
     JORGE MARTINEZ,
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                               Defendant.
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            The Court has received and reviewed the Defense Brief (Document 253). The initial premise of
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     the brief is a false one. Defense Counsel is under the misimpression that the Court is disallowing either
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     the Defense Counsel and/or the Defendant from speaking at the sentencing hearing. That is not the case
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     now, nor has it ever been the case.
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            The Court was saying before, and is reiterating now, that because informal objections were not
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     filed timely, specifically in time for them to be addressed by the Probation Officer, the late filing of
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     "Defendant’s Objections to Presentence Investigation Report" (Document 246) will not be entertained or
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     ruled upon, either directly or indirectly. In sum, the Court will neither rule on, nor entertain the late
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     filed objections.
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1            Secondly, with regard to Defendant’s request to excuse the non-filing of timely informal

2    objections, in light of the Defense assertion that "[t]his commentary does not speak to or find fault with

3    any particular portion of the presentence report" (Document 253, page 2, lines 24-25), the request is

4    moot.

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6    IT IS SO ORDERED.

7       Dated:     June 15, 2017                              /s/ Lawrence J. O’Neill _____
                                                   UNITED STATES CHIEF DISTRICT JUDGE
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